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                                                                                             UNITED STATES DISTRICT COURT
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                                                         10                                CENTRAL DISTRICT OF CALIFORNIA

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                          9255 Sunset Blvd., Suite 804




                                                               RACHEL OLMOS, MICHAEL                             Case No. 2:21-CV-3159-JAK-MRW
CLARKSON LAW FIRM, P.C.

                            Los Angeles, CA 90069




                                                         12    TRAMEL, individually and on behalf of
                                                               all others similarly situated,                    FIRST AMENDED COMPLAINT
                                                         13
                                                                                       Plaintiffs,               1. VIOLATION OF CALIFORNIA
                                                         14                                                         CONSUMERS LEGAL
                                                                        vs.
                                                         15                                                         REMEDIES ACT, CIVIL CODE
                                                               T. MARZETTI COMPANY,                                 SECTION 1750, et seq.
                                                         16                                                      2. FALSE AND MISLEADING
                                                                                       Defendant.
                                                         17                                                         ADVERTISING IN VIOLATION
                                                                                                                    OF BUSINESS AND
                                                         18                                                         PROFESSIONS CODE SECTION
                                                         19                                                         17200, et seq.
                                                                                                                 3. VIOLATION OF CALIFORNIA
                                                         20                                                         UNFAIR COMPETITION LAW,
                                                         21                                                         BUSINESS AND PROFESSIONS
                                                                                                                    CODE SECTION 17500, et seq.
                                                         22                                                      4. BREACH OF EXPRESS
                                                                                                                    WARRANTY
                                                         23                                                      5. UNJUST ENRICHMENT
                                                         24                                                      DEMAND FOR JURY TRIAL
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                                                          1             Plaintiff Rachel Olmos and Plaintiff Michael Tramel (“Plaintiffs”), each
                                                          2    individually and each on behalf of all others similarly situated, bring this class
                                                          3    action complaint against T. Marzetti Company (“Defendant” and/or “Marzetti”) and
                                                          4    allege as follows:
                                                          5                                            INTRODUCTION
                                                          6             1.      Marzetti is a billion-dollar company 1 that falsely labels and advertises its
                                                          7    New York Bakery toast products, including, but not limited to, Ultimate Garlic Texas
                                                          8    Toast, Texas Toast with Real Garlic, Five Cheese Texas Toast, and Parmesan Texas
                                                          9    Toast (the “Product(s)”) as having “No Preservatives,” when in reality, they contain
                                                         10    an FDA-classified preservative, citric acid. See Figures 1- 4, infra.
                                                         11             2.      Marzetti’s unlawful and unfair business practice of falsely labeling and
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                                                         12    advertising its Products deceives consumers and stifles competition. See Figure 5,
                                                         13    infra.
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                                                         15    Figure 1.

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                                                                 See Lancaster Colony Corporation 2020 Annual Report,
                                                         28    http://www.lancastercolony.com/investors/sec-filings-and-annual-reports/annual-
                                                               reports/default.aspx (last visited June 2, 2021).
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                                                               Figure 2.
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                                                         15    Figure 3.
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                                                               Figure 4.
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                                                               Figure 5.
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                                                          1             3.      The average consumer spends only 13 seconds to make an in-store
                                                          2    purchasing decision.2 That decision is heavily based upon the product’s front labeling.
                                                          3    Based on its front label, reasonable consumers believe that the Products are free of
                                                          4    preservatives.
                                                          5             4.      Marzetti’s profits are attributable, in part, to deceptive labeling and
                                                          6    advertising of the Products as containing “No Preservatives.” In reality, the Products
                                                          7    contain a well-known preservative, citric acid.
                                                          8             5.      Consumers rely on Defendant’s labeling and advertising of the Products
                                                          9    as containing “No Preservatives” to be truthful and would not know that the Products
                                                         10    actually contain a preservative.
                                                         11             6.      Reasonable consumers such as Plaintiffs do not have specialized
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                                                         12    knowledge necessary to identify ingredients in the Products as being inconsistent
                                                         13    with Defendant’s advertised claim of “No Preservatives.”
                                                         14             7.      Defendant knows that consumers are willing to pay more for foods that
                                                         15    are labeled as containing “No Preservatives” because they perceive it to be a healthier
                                                         16    alternative to similar products without the no preservatives label, and advertises the
                                                         17    Products with the intention that consumers rely on the representation made on the
                                                         18    front of the Products’ packaging that the Products have “No Preservatives.”
                                                         19             8.      By falsely labeling the Products as having “No Preservatives,” Defendant
                                                         20    has profited from consumers’ preference for food products that are perceived to be
                                                         21    healthier or made free of preservatives.
                                                         22             9.      Defendant’s false and misleading labeling and advertising of the
                                                         23    Products violates the California Consumers Legal Remedies Act, particularly
                                                         24    California Civil Code Section 1750, et seq. As such, Defendant has committed per
                                                         25    se violations of Business and Professions Code Section 17200, et seq., Business and
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                                                                http://www.nielsen.com/us/en/insights/news/2015/make-the-most-of-your-brands-
                                                         28    20-second-windown.html (citing the Ehrenberg-Bass Institute of Marketing
                                                               Science’s report “Shopping Takes Only Seconds…In-Store and Online”).
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                                                          1    Professions Code Section 17500. Defendant is also in breach of express warranty and
                                                          2    has been unjustly enriched.
                                                          3                          The Products Contain the Preservative Citric Acid
                                                          4             10. Defendant advertises and displays on the front of the Products that they
                                                          5    contain “No Preservatives,” thereby misleading reasonable consumers to believe that
                                                          6    the Products are free of preservatives. However, the Products contain a well-known
                                                          7    and well-documented chemical preservative, citric acid.
                                                          8             11. The Food and Drug Administration (“FDA”) defines a chemical
                                                          9    preservative as “any chemical that, when added to food, tends to prevent or retard
                                                         10    deterioration thereof, but does not include common salt, sugars, vinegars, spices, or
                                                         11    oils extracted from spices, substances added to food by direct exposure thereof to
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                                                         12    wood smoke, or chemicals applied for their insecticidal or herbicidal properties.” 21
                                                         13    C.F.R. §101.22(a)(5).
                                                         14             12. The FDA classifies and identifies citric acid as a preservative in its
                                                         15    Overview of Food Ingredients, Additives, and Colors, on the FDA’s website and
                                                         16    provides examples of uses of preservatives like citric acid, including, in frozen foods
                                                                                          3
                                                         17    like the Products.             Specifically, the FDA elaborates under its “What They Do”
                                                         18    section, that preservatives, among other things, help “prevent food spoilage from
                                                         19    bacteria, molds, fungi or yeast (antimicrobials); slow or prevent changes in color,
                                                         20    flavor, or texture and delay rancidity (antioxidants); [and] maintain freshness.” Id.
                                                         21             13. In the same section, immediately infra, the FDA also provides
                                                         22    “[e]xamples of uses” for preservatives, like citric acid, such as in “oils and
                                                         23    margarines.” Id. The citric acid found in the Products is contained in the margarine
                                                         24    type spread found on the frozen bread.
                                                         25

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                                                                 See FDA website,
                                                         28    https://www.fda.gov/Food/IngredientsPackagingLabeling/FoodAdditivesIngredients
                                                               /ucm094211.htm (last visited June 2, 2021).
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                                                           1             14. Citric acid’s classification as a preservative is further confirmed by a
                                                           2    Warning Letter sent by the FDA to the manufacturer of Chiquita brand “Pineapple
                                                           3    Bites with Coconut” and “Pineapple Bites,” in which the FDA proclaimed the
                                                           4    “Pineapple Bites” and “Pineapple Bites with Coconut” products are further
                                                           5    misbranded within the meaning of Section 403(k) of the Act [21 U.S.C. 343(k)] in
                                                           6    that they contain the chemical preservative ascorbic acid and citric acid but their
                                                           7    labels fail to declare these preservatives with a description of their functions. 21 CFR
                                                           8    101.22.”4
                                                           9             15. Citric acid’s ability to chelate, or form compounds containing a ligand
                                                          10    bonded to a central metal atom at two or more points, with other chemical compounds
                                                          11    allows citric acid to stabilize active ingredients.5 Citric acid stabilizes active
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                                                          12    ingredients. Citric acid stabilizes the active ingredients 6 in the Products and thus acts
                                                          13    as a preservative.
                                                          14             16. In addition, citric acid has been found to have antimicrobial properties
                                                          15    against some bacterial and mold.7
                                                          16             17. Citric acid acts as a preservative in the Products regardless of the
                                                          17    subjective purpose or intent for why Defendant added citric acid to the Products,
                                                          18    including, as a flavoring agent. As the FDA states, a preservative like citric acid
                                                          19    “when added to food, tends to prevent or retard deterioration thereof […].”
                                                          20    (Emphasis added).
                                                          21

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                                                                  See FDA label compliance website,
                                                          24    https://www.fdalabelcompliance.com/letters/ucm228663 (last visited June 2, 2021).
                                                                5
                                                                  National Center for Biotechnology Information. PubChem Database. Citric acid,
                                                          25    CID=311, https://pubchem.ncbi.nlm.nih.gov/compound/Citric-acid (last visited June
                                                          26    2, 2021).
                                                                6
                                                                  Citric Acid, https://pubchem.ncbi.nlm.nih.gov/compound/Citric-acid (last visited
                                                          27    on June 2, 2021).
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                                                          28      Branon, et al. 2002 Food Additives, 2nd edition, pages 591. Marcel Dekker, NY
                                                                NY.
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                                                           1             18. Even if citric acid can be used as a flavoring agent in the Products, a
                                                           2    greater amount of citric acid is needed to act as a flavoring agent than to preserve the
                                                           3    Products because citric acid acts as a preservative even if very low levels are
                                                           4    contained in the Products.8
                                                           5             19. The quantity of citric acid therefore needed to affect the flavor of the
                                                           6    Products is more than sufficient to function as a preservative.
                                                           7             20. Citric acid in frozen foods, like in the Products, functions as a
                                                           8    preservative through its chelating and acidic properties that enhance the action of
                                                           9    antioxidants and inactivate naturally present enzymes which could cause undesirable
                                                          10    browning and loss of flavor.9 Citric acid serves these functions regardless of whether
                                                          11    it is also being used as a flavorant.10
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                                                          12             21. Food and beverage manufacturers, like Defendant, seek to provide
                                                          13    consumers with products that are palatable within a given shelf life. To help ensure
                                                          14    this, manufacturers impose many hurdles to degradation when formulating a product.
                                                          15    Therefore, if an ingredient has a preservative effect, like citric acid, it is considered
                                                          16    a preservative because it acts as a hurdle to food degradation regardless of whether it
                                                          17    was added to the Products for other reasons. 11
                                                          18    8
                                                                  See Doores, S., 1993. Organic acids. In: Davidson, P.M., Branen, A.L. (Eds.),
                                                          19    Antimicrobials in Foods. Marcel Dekker, Inc., New York, pp. 95-136.
                                                                http://base.dnsgb.com.ua/files/book/ Agriculture/Foods/Antimicrobials-in-Food.pdf
                                                          20    (last visited June 2, 2021).
                                                                9
                                                          21      Kirk-Othmer Food and Feed Technology, Volume 1, p. 262 (John Wiley and Sons,
                                                                2007); Barrett, et al. “Direct Food Additives in Fruit Processing,” in Processing
                                                          22    Fruits: Science and Technology, Second Edition, Diane M. Barrett, Laszlo
                                                          23    Somogyi, and Hosahalli S. Ramaswamy, eds., p. 302 (CRC Press, 2004); Abhd-
                                                                Elhady, “Effect of citric acid, calcium lactate and low temperature prefreezing
                                                          24    treatment on the quality of frozen strawberry,” Annals of Agricultural Sciences,
                                                          25    59:69-75 (2014).
                                                                10
                                                                   See Deman, John M. “Acids as food additives serve a dual purpose, as acidulants
                                                          26
                                                                and as preservatives.” Principles of food chemistry. AVI Publishing Co., Inc., 1999,
                                                          27    p. 438.
                                                                11
                                                                   See Biesta-Peters, E., et al. Comparing Nonsynergistic Gamma Models with
                                                          28    Interaction Models To Predict Growth Of Emetic Bacillus Cereus When Using
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                                                           1             22. Citric acid, is not only a preservative, but also imparts artificial flavor.
                                                           2    While citric acid is naturally found in fruits and vegetables, the citric acid found in
                                                           3    processed foods, like the Products, is artificial or manufactured citric acid (“MCA”)
                                                           4    that has gone through extensive chemical processing.12
                                                           5             23. MCA is created through Aspergillus niger fermentation. Aspergillus
                                                           6    niger is a common black mold that grows on decomposing starchy fruits and
                                                           7    vegetables. It is chemically processed by being fed sugars, such as glucose and
                                                           8    sucrose, which then creates a citric acid solution, that is then filtered and processed
                                                           9    for use in final form. As it grows, Aspergillus niger excretes large amounts of citric
                                                          10    acid, 13 thereby making it an industry favorite among food and beverage
                                                          11    manufacturers. In fact, Aspergillus niger remains the world’s primary method for
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                                                          12    creating MCA.14
                                                          13             24. MCA—through the Aspergillus niger process—is used extensively in the
                                                          14    food, beverage, chemical, and pharmaceutical industries 15 due to its ease of handling,
                                                          15    ability to ferment a variety of cheap, raw materials, and high citric acid yield. 16
                                                          16

                                                          17    Combinations Of Ph And Individual Undissociated Acids As Growth-Limiting
                                                                Factors. Applied and Environmental Microbiology, American Society for
                                                          18    Microbiology, (2010).
                                                                12
                                                                    Iliana E. Sweis and Bryan C. Cressey, Potential role of the common food additive
                                                          19    manufactured citric acid in eliciting significant inflammatory reactions contributing
                                                          20    to serious disease states: A series for four case reports National Center for
                                                                Biotechnology Information, U.S. National Library of Medicine National Institutes
                                                          21    of Health (August 9, 2018)
                                                          22    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6097542/ (last visited June 2,
                                                                2021).
                                                          23    13
                                                                    Maria Papagianni, Advances in citric acid fermentation by Aspergillus niger:
                                                          24    Biochemical aspects, membrane transport and modeling, Biotechnology Advances,
                                                                25:244-263 (2007).
                                                          25    14
                                                                    Tushar Patel and Hiral Pandya, Citric Acid Production Fermentation Process,
                                                          26    International Journal of Advance Research and Innovative Ideas in Education 3
                                                                (2017): 3983-3991.
                                                          27    15
                                                                   Jianlong Wang, Enhancement of citric acid production by Aspergillus niger using
                                                          28    n-dodecane as an oxygen-vector, Process Biochemistry, 35 (10), 1079-1083. (2000).
                                                                16
                                                                    Citric Acid Production, supra.
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                                                           1                                 Consumers Seek Preservative-Free Foods
                                                           2             25. By representing the Products have “No Preservatives,” Defendant seeks
                                                           3    to capitalize on consumers’ preference for less processed products with no
                                                           4    preservatives. “[F]oods bearing ‘free-from’ claims are increasingly relevant to
                                                           5    Americans, as they perceive the products as closely tied to health…84 percent of
                                                           6    American free-from consumers buy free-from foods because they are seeking out
                                                           7    more natural or less processed foods. In fact, 43 percent of consumers agree that free-
                                                           8    from foods are healthier than foods without a free-from claim, while another three in
                                                           9    five believe the fewer ingredients a product has, the healthier it is (59 percent).
                                                          10    Among the top claims free-from consumers deem most important are trans-fat-free
                                                          11    (78 percent) and preservative-free (71 percent).” 17
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                                                          12             26. One study found that when consumers were asked to choose a product
                                                          13    that was the closest to their understanding of what “natural” is based on product
                                                          14    labels, consumers chose “No Preservatives” amongst other labels. 18
                                                          15             27. Consumers are also willing to pay more for products with “no
                                                          16    preservatives” labels because of the perceived higher quality, health and safety
                                                          17    benefits associated with such foods. According to Nielsen’s 2015 Global Health &
                                                          18    Wellness Survey that polled over 30,000 people online, 88 percent of Americans are
                                                          19    willing to pay more for healthier foods.19 This, coupled with the fact that global sales
                                                          20    of healthy food products reached $1 trillion in 2017, according to Euromonitor,
                                                          21

                                                          22    17
                                                                   See, Free-From Food Trends - US - May 2015, Mintel: World’s Leading Market
                                                          23    Intelligence Agency http://www.mintel.com/press-centre/food-and-drink/84-of-
                                                          24    americans-buy-free-from-foods-because-they-believe-them-to-be-more-natural-or-
                                                                less-processed (last visited June 2, 2021).
                                                          25    18
                                                                   Sajida Rahman, et al., Assessing consumers’ understanding of the term “Natural”
                                                          26    on food labeling, Journal of Food Science, Vol. 85, No. 6, 1891-1896. (2020).
                                                                19
                                                                   See, We Are What We Eat: Healthy Eating Trends Around the World, Nielson
                                                          27    (Jan. 2015)
                                                          28    https://www.nielsen.com/wp-content/uploads/sites/3/2019/04/january-2015-global-
                                                                health-and-wellness-report.pdf (last visited June 2, 2021).
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                                                           1    means consumers are eager and willing to pay more for food advertised and labeled
                                                           2    as having “No Preservatives” like the Products.20
                                                           3             28. Defendant’s practice of capitalizing on consumers’ preferences for
                                                           4    healthier products is deceptive. This deception continues today, as consumers
                                                           5    continue to purchase the Products under the mistaken belief that it is preservative-
                                                           6    free based on Defendant’s false, deceptive, and misleading labeling and advertising
                                                           7    of the Products as having “No Preservatives.”
                                                           8             29. Plaintiffs and other consumers of the Products made their purchase
                                                           9    decisions in reliance upon Defendant’s advertised claims that that Products contain
                                                          10    “No Preservatives.”
                                                          11             30. Plaintiff Olmos purchased Ultimate Garlic Texas Toast from a Vons store
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                                                          12    in Palmdale, California in January 2021. Plaintiff Olmos paid approximately $4.00
                                                          13    for the Product. The Product was labeled as having no “No Preservatives” on the
                                                          14    front of the Product packaging but contained citric acid, a well-known preservative.
                                                          15             31. Plaintiff Tramel purchased Five Cheese Texas Toast from a Dollar Store
                                                          16    in Bakersfield, California in December 2020. Plaintiff Tramel paid approximately
                                                          17    $1.00 for the Product. The Product was labeled as having no “No Preservatives” on
                                                          18    the front of the Product packaging but contained citric acid, a well-known
                                                          19    preservative.
                                                          20             32. Plaintiffs and the Class reasonably and detrimentally relied upon the “No
                                                          21    Preservatives” Products’ label. Plaintiffs and the Class would not have purchased the
                                                          22    Products had they known that the Products contain preservatives.
                                                          23             33. The Products are all manufactured by Defendant.
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                                                          26      See, Health and Wellness the Trillion Dollar Industry in 2017: Key Research
                                                                Highlights, Euromonitor International,
                                                          27    https://blog.euromonitor.com/health-and-wellness-the-trillion-dollar-industry-in-
                                                          28    2017-key-research-highlights/ (last visited June 2, 2021).

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                                                           1             34. The Products are all sold at grocery and retail stores throughout
                                                           2    California and the United States.
                                                           3             35. The Products are all manufactured in the same facilities.
                                                           4             36. The Products all contain similar bread slices (i.e., thick, Texas toast) with
                                                           5    flavored spread.
                                                           6             37. The Products are all packed in opaque, 11.25 oz., rectangular cardboard
                                                           7    boxes.
                                                           8             38. The Products are all labeled and advertised as containing “No
                                                           9    Preservatives.”
                                                          10             39. The Products all include the preservative, citric acid.
                                                          11             40. Consumers of the Products have been deceived in the same way.
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                                                          12             41. Consumers of the Products have been injured in the same way.
                                                          13             42. Consumers of the Products have been damaged in the same way.
                                                          14             43. Defendant’s conduct threatens California consumers by using
                                                          15    intentionally deceptive and misleading labels. Defendant’s conduct also threatens
                                                          16    other companies, large and small, who “play by the rules.” Defendant’s conduct
                                                          17    stifles competition and has a negative impact on the marketplace, and reduces
                                                          18    consumer choice.
                                                          19             44. There is no practical reason for false labeling and advertising of the
                                                          20    Products, other than to mislead consumers as to the presence of preservatives in the
                                                          21    Products while simultaneously providing Defendant with a financial windfall.
                                                          22             45. Plaintiffs makes the allegations herein upon personal knowledge as to
                                                          23    themselves and their own acts and experiences, and as to all other matters, upon
                                                          24    information and belief, including investigation conducted by their attorneys.
                                                          25                       Similar Frozen Food Products that Do Not Contain Preservatives
                                                          26                                            are Accurately Labeled by Competitors
                                                          27             46. Frozen foods products that do not contain preservatives, namely citric
                                                          28    acid, are accurately labeled as containing “No Preservatives” in the marketplace. For
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                                                           1    example, Pepperidge Farm’s Texas Toast Made with Real Garlic & Parsley is
                                                           2    accurately labeled as having “No Preservatives,” and does not contain citric acid in
                                                           3    its ingredient list. Similarly, Green Giant’s Riced Veggies, Simply Steam Riced
                                                           4    Cauliflower Casserole is labeled as having “No Preservatives” on the front label, and
                                                           5    does not include citric acid in its ingredient list. True and correct representations of
                                                           6    the comparator products are set forth below. See, Figure 6, infra.
                                                           7    Figure 6.
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                                                          13            Frozen Food Products that Contain Preservatives are Accurately Labeled
                                                          14                                              by Competitors
                                                          15             47. Frozen food products that contain preservatives, such as citric acid, do
                                                          16    not label their products as having “No Preservatives” when they do in fact contain
                                                          17    preservatives. For example, Walmart’s Great Value Garlic Texas Toast contains
                                                          18    citric acid and is not labeled as having “No Preservatives.” Another example is
                                                          19    Target’s Market Pantry’s Garlic Texas Toast that contains citric acid, but is also not
                                                          20    labeled as having “No Preservatives.” True and correct representations of the
                                                          21    comparator products are set forth below. See, Figure 7, infra.
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                                                           1    Figure 7.
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                                                           1                                               PARTIES
                                                           2             48. Plaintiff Rachel Olmos is, and at all times relevant hereto was, a citizen
                                                           3    of California. Plaintiff Olmos purchased Ultimate Garlic Texas Toast from a Vons
                                                           4    store in Palmdale, California in January 2021 for approximately $4.00. In making her
                                                           5    purchase, Plaintiff Olmos relied upon the claims made on the front label of the
                                                           6    Product, including the “No Preservatives” claim, which was prepared and approved
                                                           7    by Defendant and its agents and disseminated statewide and nationwide, as well as
                                                           8    designed to encourage consumers to purchase the Products. If Plaintiff Olmos had
                                                           9    known that the Product actually contained preservatives, she would not have
                                                          10    purchased the Product. Plaintiff Olmos may want to purchase the Product again if
                                                          11    she can be sure that Defendant is compliant with federal and state consumer
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                                                          12    protection laws.
                                                          13             49. Plaintiff Michael Tramel is, and at all times relevant hereto was, a citizen
                                                          14    of California. Plaintiff Tramel purchased Five Cheese Texas Toast from a Dollar
                                                          15    Store in Bakersfield, California in December 2020 for approximately $1.00. In
                                                          16    making his purchase, Plaintiff Tramel relied upon the claims made on the front label
                                                          17    of the Product, including the “No Preservatives” claims, which were prepared and
                                                          18    approved by Defendant and its agents and disseminated statewide and nationwide, as
                                                          19    well as designed to encourage consumers to purchase the Products. If Plaintiff Tramel
                                                          20    had known that the Product actually contained preservatives, he would not have
                                                          21    purchased the Product. Plaintiff Tramel may want to purchase the Product again if
                                                          22    he can be sure that Defendant is compliant with federal and state consumer protection
                                                          23    laws.
                                                          24             50. T. Marzetti Company is a corporation headquartered in Westerville, Ohio
                                                          25    and maintains its principal business office at 380 Polaris Parkway, Suite 400,
                                                          26    Westerville, OH 43082. Marzetti directly and through its agents, has substantial
                                                          27    contacts with and receives substantial benefits and income from and through the State
                                                          28    of California. Marzetti is the one of the owners, manufacturers, and distributors of
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                                                           1    the Products, and is one of the companies that created and/or authorized the false,
                                                           2    misleading, and deceptive packaging for the Products.
                                                           3                                        JURISDICTION AND VENUE
                                                           4             51. This Court has subject matter jurisdiction of this action pursuant to 28
                                                           5    U.S.C. Section 1332 of the Class Action Fairness Act of 2005 because: (i) there are
                                                           6    100 or more class members, (ii) there is an aggregate amount in controversy
                                                           7    exceeding $5,000,000, exclusive of interest and costs, and (iii) there is minimal
                                                           8    diversity because at least one Plaintiff and Defendant are citizens of different states.
                                                           9    This Court has supplemental jurisdiction over any state law claims pursuant to 28
                                                          10    U.S.C. Section 1367.
                                                          11             52. Pursuant to 28 U.S.C. Section 1391, this Court is the proper venue for
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                                                          12    this action because a substantial part of the events, omissions, and acts giving rise
                                                          13    to the claims herein occurred in this District: Plaintiffs are citizens of California who
                                                          14    reside in this District; Defendant made the challenged false representations to
                                                          15    Plaintiffs in this District; Plaintiffs purchased the Products in this District; and
                                                          16    Plaintiffs used the Products within this District. Moreover, Defendant receives
                                                          17    substantial compensation from sales in this District.
                                                          18             53. Defendant is subject to personal jurisdiction in California based upon
                                                          19    sufficient          minimum             contacts   which   exist   between Defendant and
                                                          20    California. Defendant is authorized to do and is doing business in California.
                                                          21                                            CLASS ALLEGATIONS
                                                          22             54. Plaintiffs bring this action each on their own behalf and each on behalf
                                                          23    of all other persons similarly situated. The Class which Plaintiffs seeks to represent
                                                          24    comprises:
                                                          25
                                                                        All persons who purchased the Products in the United States or, alternatively,
                                                          26            the State of California, for personal use and not for resale during the time period
                                                          27            of four years prior to the filing of the complaint through the present.

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                                                           1    Said definition may be further defined or amended by additional pleadings,
                                                           2    evidentiary hearings, a class certification hearing, and orders of this Court.
                                                           3             55. There is a well-defined community of interest in the questions of law and
                                                           4    fact involved affecting the parties to be represented. The questions of law and fact
                                                           5    common to the Class predominate over questions which may affect individual Class
                                                           6    members. Common questions of law and fact include, but are not limited to, the
                                                           7    following:
                                                           8                                       a.   Whether Defendant’s conduct constitutes an unfair
                                                           9                     method of competition, or unfair or deceptive act or practice, in violation
                                                          10                     of Civil Code section 1750, et seq.;
                                                          11                                       b.   Whether Defendant used deceptive representations in
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                                                          12                     connection with the sale of the Products in violation of Civil Code section
                                                          13                     1750, et seq.;
                                                          14                                       c.   Whether Defendant represented the Products have
                                                          15                     characteristics or quantities that it does not have in violation of Civil Code
                                                          16                     section 1750, et seq.;
                                                          17                                       d.   Whether Defendant advertised the Products with
                                                          18                     intent not to sell them as advertised in violation of Civil Code section
                                                          19                     1750, et seq.;
                                                          20                                       e.   Whether Defendant’s labeling and advertising of the
                                                          21                     Products is untrue or misleading in violation of Business and Professions
                                                          22                     Code section 17500, et seq.;
                                                          23                                       f.   Whether Defendant knew or by the exercise of
                                                          24                     reasonable care should have known its labeling and advertising was and
                                                          25                     is untrue or misleading in violation of Business and Professions Code
                                                          26                     section 17500, et seq.;
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                                                           1                                       g.   Whether Defendant’s conduct is an unfair business
                                                           2                     practice within the meaning of Business and Professions Code section
                                                           3                     17200, et seq.;
                                                           4                                       h.   Whether Defendant’s conduct is a fraudulent business
                                                           5                     practice within the meaning of Business and Professions Code section
                                                           6                     17200, et seq.;
                                                           7                                       i.   Whether Defendant’s conduct is an unlawful business
                                                           8                     practice within the meaning of Business and Professions Code section
                                                           9                     17200, et seq.
                                                          10                                       j.   Whether Defendant is liable for common law fraud;
                                                          11                                       k.   Whether Defendant breached an expressed warranty
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                                                          12                     regarding the Products’ true nature;
                                                          13                                       l.   Whether Defendant was unjustly enriched at the
                                                          14                     expense of Plaintiffs and the Class members;
                                                          15                                       m.   Whether Plaintiffs and the Class paid more money
                                                          16                     for the Products than they actually received; and,
                                                          17                                       n.   How much more money Plaintiffs and the Class paid
                                                          18                     for the Products than they actually received;
                                                          19             56. Plaintiffs’ claims are typical of the claims of the Class, and Plaintiffs will
                                                          20    fairly and adequately represent and protect the interests of the Class. Plaintiffs have
                                                          21    retained competent and experienced counsel in class action and other complex
                                                          22    litigation.
                                                          23             57. Plaintiffs and the Class have suffered injury in fact and have lost money
                                                          24    as a result of Defendant’s false representations. Plaintiffs and the Class each
                                                          25    purchased the Products under the false belief that the Products were free of
                                                          26    preservatives. Plaintiffs and the Class relied upon Defendant’s packaging and would
                                                          27    not have purchased the Products if they had known that the Products contained
                                                          28    preservatives and/or artificial flavors.
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                                                           1             58. A class action is superior to other available methods for fair and efficient
                                                           2    adjudication of this controversy. The expense and burden of individual litigation
                                                           3    would make it impracticable or impossible for the Class to prosecute their claims
                                                           4    individually.
                                                           5             59. The trial and litigation of Plaintiffs’ claims are manageable. Individual
                                                           6    litigation of the legal and factual issues raised by Defendant’s conduct would increase
                                                           7    delay and expense to all parties and the court system. The class action device presents
                                                           8    far fewer management difficulties and provides the benefits of a single, uniform
                                                           9    adjudication, economies of scale, and comprehensive supervision by a single court.
                                                          10             60. Defendant has acted on grounds generally applicable to the entire Class,
                                                          11    thereby making final injunctive relief and/or corresponding declaratory relief
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                                                          12    appropriate with respect to the Class as a whole. The prosecution of separate actions
                                                          13    by individual Class members would create the risk of inconsistent or varying
                                                          14    adjudications with respect to individual Class members that would establish
                                                          15    incompatible standards of conduct for Defendant.
                                                          16             61. Absent a class action, Defendant will likely retain the benefits of their
                                                          17    wrongdoing. Because of the small size of the individual Class members’ claims, few,
                                                          18    if any, Class members could afford to seek legal redress for the wrongs complained
                                                          19    of herein. Absent a representative action, the Class will continue to suffer losses and
                                                          20    Defendant will be allowed to continue these violations of law and to retain the
                                                          21    proceeds of its ill-gotten gains.
                                                          22                                               COUNT ONE
                                                          23      VIOLATION OF CALIFORNIA CONSUMER LEGAL REMEDIES ACT,
                                                          24                       CALIFORNIA CIVIL CODE SECTION 1750, et seq.
                                                          25             62. Plaintiffs repeat and realleges all allegations of the previous paragraphs,
                                                          26    and incorporates the same as if set forth herein at length.
                                                          27             63. Plaintiffs bring this cause of action pursuant to Civil Code section 1750,
                                                          28    et seq., the Consumers Legal Remedies Act (“CLRA”), each on their own behalf and
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                                                           1    each on behalf of all other persons similarly situated. Plaintiffs seek to represent a
                                                           2    Class consisting of “All persons who purchased the Products in the United States or,
                                                           3    alternatively, the State of California, for personal use and not for resale during the
                                                           4    time period of four years prior to the filing of the complaint through the present.”
                                                           5    Excluded from the Class are Defendant’s officers, directors, and employees, and any
                                                           6    individual who received remuneration from Defendant in connection with that
                                                           7    individual’s use or endorsement of the Products.
                                                           8             64. The Class consists of thousands of persons, the joinder of whom is
                                                           9    impracticable.
                                                          10             65. There are questions of law and fact common to the Class, which
                                                          11    questions are substantially similar and predominate over questions affecting the
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                                                          12    individual Class members, as set forth herein.
                                                          13             66. The CLRA prohibits certain “unfair methods of competition and unfair
                                                          14    or deceptive acts or practices” in connection with a sale of goods.
                                                          15             67. The practices described herein, specifically Defendant’s packaging,
                                                          16    advertising, and sale of the Products, were intended to result and did result in the sale
                                                          17    of the Products to the consuming public and violated and continue to violate the
                                                          18    CLRA by (1) using deceptive representations in connection with the Products; and
                                                          19    (2) advertising and packaging the Products with intent not to sell them as advertised.
                                                          20             68.      Defendant fraudulently deceived Plaintiffs and the Class by
                                                          21    misrepresenting the Products as having characteristics which they do not have, e.g.,
                                                          22    advertising and labeling the Products as having “No Preservatives” when they
                                                          23    actually contain citric acid, a well-known preservative. In doing so, Defendant
                                                          24    intentionally misrepresented and concealed material facts from Plaintiffs and the
                                                          25    Class. Said misrepresentations and concealment were done with the intention of
                                                          26    deceiving Plaintiffs and the Class and depriving them of their legal rights and money.
                                                          27             69.      Defendant fraudulently deceived Plaintiffs and the Class by labeling and
                                                          28    advertising the Products with intent not to sell as advertised, e.g., advertising and
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                                                           1    labeling the Products have “No Preservatives” when they actually contain citric acid,
                                                           2    a well-known preservative. In doing so, Defendant intentionally misrepresented and
                                                           3    concealed material facts from Plaintiffs and the Class. Said misrepresentations and
                                                           4    concealment were done with the intention of deceiving Plaintiffs and the Class and
                                                           5    depriving them of their legal rights and money.
                                                           6             70. Defendant knew or should have known, through the exercise of
                                                           7    reasonable care, that labeling and advertising the Products as containing “No
                                                           8    Preservatives” was misleading.
                                                           9             71. Defendant’s actions as described herein was done with conscious
                                                          10    disregard of Plaintiffs’ rights, and Defendant was wanton and malicious in its
                                                          11    concealment of the same.
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                                                          12             72. Defendant’s labeling and advertising of the Products was a material
                                                          13    factor in Plaintiffs’ and the Class’s decisions to purchase the Products. Based on
                                                          14    Defendant’s labeling and advertising of the Products, Plaintiffs and the Class
                                                          15    reasonably believed that they were purchasing Products that were free of
                                                          16    preservatives. Had they known the truth of the matter, Plaintiffs and the Class would
                                                          17    not have purchased the Products.
                                                          18             73. Plaintiffs respectfully request that the Court enjoin Defendant from
                                                          19    continuing to employ the unlawful methods, acts, and practices alleged herein
                                                          20    pursuant to Section 1780(a)(2) of the Act. In addition, Defendant should be
                                                          21    compelled to provide restitution and damages to consumers who paid for Products
                                                          22    that are not what they expected to receive due to Defendant’s misrepresentations.
                                                          23                                   a. Plaintiffs and members of the Class are entitled to equitable
                                                          24                                       relief as no adequate remedy at law exists.
                                                          25                                            i. Injunctive relief is appropriate on behalf of Plaintiffs
                                                          26                                               and members of the Class because Defendant
                                                          27                                               continues to deceptively label the Products as having
                                                          28                                               “No Preservatives.”
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                                                           1                                            ii. Injunctive relief is necessary to prevent Defendant
                                                           2                                                from continuing to engage in this unfair, fraudulent,
                                                           3                                                and/or unlawful conduct described herein and to
                                                           4                                                prevent future harm—none of which can be achieved
                                                           5                                                through available legal remedies.
                                                           6                                            iii. Further,   injunctive   relief,   in   the   form   of
                                                           7                                                label/advertising modifications, is necessary to dispel
                                                           8                                                public misperception about the Products that has
                                                           9                                                resulted from years of Defendant’s unlawful
                                                          10                                                marketing efforts. Such modifications could include,
                                                          11                                                but are not limited to, removing the “No
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                                                          12                                                Preservatives” claims on the label. Such relief is not
                                                          13                                                available through a legal remedy, as monetary
                                                          14                                                damages may be awarded to remedy past harm (i.e.,
                                                          15                                                purchasers who have been misled), while injunctive
                                                          16                                                relief is necessary to remedy future harm (i.e., prevent
                                                          17                                                future purchasers from being misled), under the
                                                          18                                                current circumstances where the dollar amount of
                                                          19                                                future damages is not reasonably ascertainable at this
                                                          20                                                time. Plaintiffs are, currently, unable to accurately
                                                          21                                                quantify the damages caused by Defendant’s future
                                                          22                                                harm (e.g., the dollar amount that Plaintiffs and Class
                                                          23                                                members will overpay for deceptively labeled
                                                          24                                                Products), rendering injunctive relief a necessary
                                                          25                                                remedy.
                                                          26             74. Plaintiffs and the Class have suffered injury in fact and has lost money
                                                          27    as a result of Defendant’s unfair, unlawful, and fraudulent conduct. Specifically,
                                                          28    Plaintiffs and the Class paid for Products that were different from what they were
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                                                           1    reasonably expecting to receive when they decided to make their purchases. Plaintiffs
                                                           2    and the Class would not have purchased the Products had they known that the
                                                           3    Products contained preservatives.
                                                           4             75. By letters dated August 25, 2020 and May 10, 2021, Plaintiffs advised
                                                           5    Defendant of its false and misleading claims pursuant to California Civil Code
                                                           6    Section 1782(a).
                                                           7             76. Plaintiffs shall be irreparably harmed if such an order is not granted.
                                                           8                                            COUNT TWO
                                                           9              VIOLATION OF CALIFORNIA FALSE ADVERTISING LAW,
                                                          10                BUSINESS & PROFESSIONS CODE SECTION 17500, et seq.
                                                          11             77. Plaintiffs repeat and reallege the allegations set forth in the preceding
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                                                          12    paragraphs, and incorporate the same as if set forth herein at length.
                                                          13             78. Plaintiffs bring this cause of action pursuant to Business and Professions
                                                          14    Code section 17500, et seq., each on their own behalf and each on behalf of all other
                                                          15    persons similarly situated. Plaintiffs seek to represent a Class consisting of “All
                                                          16    persons who purchased the Products in the United States or, alternatively, the State
                                                          17    of California, for personal use and not for resale during the time period four years
                                                          18    prior to the filing of the complaint through the present.” Excluded from the Class are
                                                          19    Defendant’s officers, directors, and employees, and any individual who received
                                                          20    remuneration from Defendant in connection with that individual’s use or
                                                          21    endorsement of the Products.
                                                          22             79. California’s False Advertising Law, California Business and Professions
                                                          23    Code section 17500, et seq., makes it “unlawful for any person to make or
                                                          24    disseminate or cause to be made or disseminated before the public in this state, in any
                                                          25    advertising device or in any other manner or means whatever, including over the
                                                          26    Internet, any statement, concerning personal property or services, professional or
                                                          27    otherwise, or performance or disposition thereof, which is untrue or misleading and
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                                                           1    which is known, or which by the exercise of reasonable care should be known, to be
                                                           2    untrue or misleading.”
                                                           3             80. Defendant knowingly disseminated misleading claims regarding the
                                                           4    absence of preservatives in the Products as a means to mislead the public about what
                                                           5    is in the Products.
                                                           6             81. Defendant controlled the labeling, packaging, production and advertising
                                                           7    of the Products. It knew or should have known, through the exercise of reasonable
                                                           8    care that its representation that there were no preservatives in the Products was
                                                           9    untrue, deceptive, and misleading.
                                                          10             82. Defendant’s action of displaying misleading claims and omissions about
                                                          11    the ingredients of the Products in prominent type face on each Products’ front label
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                                                          12    is likely to deceive the general public.
                                                          13             83. Defendant’s actions in violation of Section 17500 were false and
                                                          14    misleading such that the general public is and was likely to be deceived.
                                                          15             84. Plaintiffs and the Class have suffered injury in fact and have lost money
                                                          16    as a result of Defendant’s false representations. Plaintiffs and the Class purchased the
                                                          17    Products in reliance upon the claims by Defendant that the Products contain “No
                                                          18    Preservatives” as represented by Defendant’s labeling and advertising. Plaintiffs
                                                          19    would not have purchased the Products if they had known that the claims and
                                                          20    advertising as described herein were false and misleading.
                                                          21             85. As alleged in the preceding paragraphs, the misrepresentations by
                                                          22    Defendant of the material facts detailed above constitutes an unfair, unlawful, and
                                                          23    fraudulent business practice within the meaning of California Business & Professions
                                                          24    Code section 17500.
                                                          25             86. As a direct and proximate result of Defendant’s conduct alleged herein
                                                          26    in violation of the FAL, Plaintiffs and members of the Class, pursuant to Business &
                                                          27    Professions Code Section 17535, are entitled to an order of this Court enjoining such
                                                          28    future wrongful conduct on the part of Defendant, and requiring Defendant to
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                                                           1    disclose the true natures of its misrepresentations.
                                                           2                                   a. Plaintiffs and the members of the Class seek are entitled to
                                                           3                                       equitable relief as no adequate remedy at law exists.
                                                           4                                             i. The scope of permissible plaintiffs under the FAL is
                                                           5                                                broader than the CLRA to include, for example,
                                                           6                                                individuals or entities who purchased the Products for
                                                           7                                                non-personal,         non-family,      and   non-household
                                                           8                                                purposes. Thus, Plaintiffs and class members may be
                                                           9                                                entitled to restitution under the FAL, while not
                                                          10                                                entitled to damages under the CLRA.
                                                          11                                            ii. Injunctive relief is appropriate on behalf of Plaintiffs
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                                                          12                                                and members of the Class because Defendant
                                                          13                                                continues to deceptively label the Products as having
                                                          14                                                “No Preservatives.”
                                                          15                                            iii. Injunctive relief is necessary to prevent Defendant
                                                          16                                                from continuing to engage in this unfair, fraudulent,
                                                          17                                                and/or unlawful conduct described herein and to
                                                          18                                                prevent future harm—none of which can be achieved
                                                          19                                                through available legal remedies. Further, injunctive
                                                          20                                                relief,   in    the    form    of   packaging     or    label
                                                          21                                                modifications,        is   necessary    to   dispel    public
                                                          22                                                misperception about the Products that has resulted
                                                          23                                                from years of Defendant’s unlawful marketing
                                                          24                                                efforts. Such modifications could include, but are not
                                                          25                                                limited to, removing the “No Preservatives” claims
                                                          26                                                on the label. Such relief is not available through a
                                                          27                                                legal remedy, as monetary damages may be awarded
                                                          28                                                to remedy past harm (i.e., purchasers who have been
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                                                           1                                            misled), while injunctive relief is necessary to
                                                           2                                            remedy future harm (i.e., prevent future purchasers
                                                           3                                            from being misled), under the current circumstances
                                                           4                                            where the dollar amount of future damages is not
                                                           5                                            reasonably ascertainable at this time. Plaintiffs are,
                                                           6                                            currently, unable to accurately quantify the damages
                                                           7                                            caused by Defendant’s future harm (e.g., the dollar
                                                           8                                            amount that Plaintiffs and Class members will
                                                           9                                            overpay for deceptively labeled Products), rendering
                                                          10                                            injunctive relief a necessary remedy.
                                                          11             87. Plaintiffs and the Class have suffered injury in fact and have lost money
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                                                          12    as a result of Defendant’s false representations. Plaintiffs purchased the Product in
                                                          13    reliance upon the claims by Defendant that the Products are preservative-free as
                                                          14    represented by Defendant’s labeling and advertising. Plaintiffs would not have
                                                          15    purchased the Products if they had known that the claims and advertising as described
                                                          16    herein were false and misleading.
                                                          17                                                COUNT THREE
                                                          18             VIOLATION OF CALIFORNIA UNFAIR COMPETITION LAW
                                                          19                BUSINESS & PROFESSIONS CODE SECTION 17200, et seq.
                                                          20             88. Plaintiffs repeat and reallege the allegations set forth above, and
                                                          21    incorporate the same as if set forth herein at length.
                                                          22             89. This cause of action is brought pursuant to Business and Professions
                                                          23    Code Section 17200, et seq., on behalf of Plaintiff and a Class consisting of “all
                                                          24    persons residing in the United States and/or State of California who purchased the
                                                          25    Products for personal use and not for resale during the time period of four (4) years
                                                          26    prior to the filing of the complaint through the present.”
                                                          27                                             A. “Unfair” Prong
                                                          28             90. Under California’s False Advertising Law, Cal. Bus. & Prof. Code
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                                                           1    Section 17200, et seq., a challenged activity is “unfair” when “any injury it causes
                                                           2    outweighs any benefits provide to consumers and the injury is one that the consumers
                                                           3    themselves could not reasonably avoid.” Camacho v. Auto Club of Southern
                                                           4    California, 142 Cal. App. 4th 1394, 1403 (2006).
                                                           5             91. Defendant’s false and deceptive advertising as alleged herein does not
                                                           6    confer any benefit to consumers.
                                                           7             92. Defendant’s false and deceptive advertising as alleged herein causes
                                                           8    injuries to consumers, who do not receive a product consistent with their reasonable
                                                           9    expectations.
                                                          10             93. Defendant’s false and deceptive advertising as alleged herein causes
                                                          11    injuries to consumers, who end up overpaying for the Products that are not as
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                                                          12    advertised.
                                                          13             94. Consumers cannot avoid any of the injuries caused by Defendant’s false
                                                          14    and deceptive advertising.
                                                          15             95. The injuries cause by Defendant’s false and deceptive advertising
                                                          16    outweighs any benefits.
                                                          17             96. Defendant’s advertising of the Products, as alleged in the preceding
                                                          18    paragraphs, is false, deceptive, misleading, and unreasonable and constitutes an
                                                          19    unfair business practice within the meaning of California Business and Professions
                                                          20    Code Section 17200.
                                                          21             97. Defendant could have furthered its legitimate business interests in ways
                                                          22    other than by advertising the Products unfairly.
                                                          23             98. Defendant’s conduct threatens consumers by using deceptive and
                                                          24    misleading “No Preservatives” claims. Defendant’s conduct also threatens other
                                                          25    companies, large and small, who play by the rules. Defendant’s conduct stifles
                                                          26    competition and has a negative impact on the marketplace, and reduces consumer
                                                          27    choice.
                                                          28             99. All of the conduct alleged herein occurs and continues to occur in
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                                                           1    Defendant’s business. Defendant’s wrongful conduct is part of a pattern or
                                                           2    generalized course of conduct repeated on approximately thousands of occasions
                                                           3    daily.
                                                           4             100. Pursuant to Business and Professions Code Sections 17203, Plaintiffs
                                                           5    and the Class seek an order of this Court enjoining Defendant from continuing to
                                                           6    engage, use, or employ its unfair business practices.
                                                           7             101. Plaintiffs and the Class have suffered injury-in-fact and have lost money
                                                           8    as a result of Defendant’s unfair conduct. Plaintiffs paid an unwarranted premium for
                                                           9    these Products. Specifically, Plaintiffs paid for products advertised as “No
                                                          10    Preservatives” when the Products contain the well-known preservative, citric acid.
                                                          11    Plaintiffs and the Class would not have purchased the Products, or would have paid
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                                                          12    significantly less for the Products if they had known that Defendant’s “No
                                                          13    Preservatives” labeling and advertising were meaningless. Likewise, Plaintiffs and
                                                          14    the members of the Class seek an order enjoining Defendant from making
                                                          15    representations that the Products are contain “No Preservatives” for the reasons
                                                          16    stated herein. Plaintiffs may want to purchase the Products again if they can be sure
                                                          17    that Defendant is compliant with federal and state consumer protection
                                                          18    laws. Additionally, Plaintiffs and the members of the Class seek and request an order
                                                          19    awarding Plaintiffs and the Class restitution of the money wrongfully acquired by
                                                          20    Defendant by means of Defendant’s misleading “No Preservatives” representations.
                                                          21                                            B. “Fraudulent” Prong
                                                          22             102. California Business and Professions Code Section 17200, et seq.,
                                                          23    prohibits fraudulent conduct, defined as conduct that is likely to deceive members of
                                                          24    the public. A business practice is “fraudulent” if it actually deceives members of the
                                                          25    consuming public.
                                                          26             103. Defendant’s false and deceptive advertising as alleged herein is likely to
                                                          27    deceive the members of the public.
                                                          28             104. Defendant’s advertising of the Products, as alleged in the preceding
                                                               Error! Unknown document property name.            33
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                                                           1    paragraphs, is false, deceptive, misleading, and unreasonable and constitutes a
                                                           2    fraudulent business practice in violation of California Business and Professions
                                                           3    Code Section 17200.
                                                           4             105. Defendant knew or should have known of its fraudulent conduct.
                                                           5             106. Defendant could have furthered its legitimate business interests in ways
                                                           6    other than by advertising the Products fraudulently.
                                                           7             107. All of the conduct alleged herein occurs and continues to occur
                                                           8    in Defendant’s business. Defendant’s wrongful conduct is part of a pattern or
                                                           9    generalized course of conduct repeated on approximately thousands of occasions
                                                          10    daily.
                                                          11             108. Pursuant to Business and Professions Code Sections 17203, Plaintiffs
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                                                          12    and the Class seek an order of this Court enjoining Defendant from continuing to
                                                          13    engage, use, or employ its fraudulent business practices.
                                                          14             109. Specifically,             Plaintiffs   paid   for   products advertised   as “No
                                                          15    Preservatives” when the Products contain the well-known preservative, citric acid.
                                                          16    Plaintiffs and the Class would not have purchased the Products, or would have paid
                                                          17    significantly less for the Products if they had known that Defendant’s “No
                                                          18    Preservatives” labeling and advertising were meaningless. Likewise, Plaintiffs and
                                                          19    the members of the Class seek an order enjoining Defendant from making
                                                          20    representations that the Products are contain “No Preservatives” for the reasons
                                                          21    stated herein. Plaintiffs may want to purchase the Products again if they can be sure
                                                          22    that Defendant is compliant with federal and state consumer protection
                                                          23    laws. Additionally, Plaintiffs and the members of the Class seek and request an order
                                                          24    awarding Plaintiffs and the Class restitution of the money wrongfully acquired by
                                                          25    Defendant by means of Defendant’s misleading “No Preservatives” representations.
                                                          26                                               C. “Unlawful” Prong
                                                          27             110. California Business and Professions Code Section 17200, et seq.,
                                                          28    identifies violations of any state or federal law as “unlawful practices that the unfair
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                                                           1    competition law makes independently actionable.” Velazquez v. GMAC Mortg.
                                                           2    Corp., 605 F. Supp. 2d 1049, 1068 (C.D. Cal. 2008).
                                                           3             111. Defendant’s advertising of the Products, as alleged in the preceding
                                                           4    paragraphs, violates California Civil Code Section 1750, et. seq., California Business
                                                           5    and Professions Code Section 17500, et. seq., California’s Sherman Law, and the
                                                           6    California Business and Professions Code Section 12606.2, et seq.
                                                           7             112. Defendant’s advertising of the Products, as alleged in the preceding
                                                           8    paragraphs, is false, deceptive, misleading, and unreasonable and constitutes
                                                           9    unlawful conduct.
                                                          10             113. Defendant knew or should have known of its unlawful conduct.
                                                          11             114. As alleged in the preceding paragraphs, the misrepresentations by
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                                                          12    Defendant detailed above constitute an unlawful business practice within the
                                                          13    meaning of California Business and Professions Code section 17200.
                                                          14             115. Defendant could have furthered its legitimate business interests in ways
                                                          15    other than by advertising the Products unlawfully.
                                                          16             116. All of the conduct alleged herein occurs and continues to occur
                                                          17    in Defendant’s business. Defendant’s unlawful conduct is part of a pattern or
                                                          18    generalized course of conduct repeated on approximately thousands of occasions
                                                          19    daily.
                                                          20             117. As a result of the business acts and practices described above, Plaintiff
                                                          21    and members of the Class, pursuant to Business and Professions Code Section 17203,
                                                          22    are entitled to an order enjoining such future wrongful conduct on the part of
                                                          23    Defendant and such other orders and judgments that may be necessary to disgorge
                                                          24    Defendant’s ill-gotten gains and to restore to any person in interest any money paid
                                                          25    for the Products as a result of the wrongful conduct of Defendant.
                                                          26                                   a. Plaintiffs and members of the Class are entitled to equitable
                                                          27                                       relief as no adequate remedy at law exists.
                                                          28                                            i. The applicable limitations period is four years for
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                                                           1                                                claims brought under the UCL, which is one year
                                                           2                                                longer than the applicable statute of limitations under
                                                           3                                                the FAL and CLRA. Thus, class members who
                                                           4                                                purchased the Products between 3 and 4 years prior
                                                           5                                                to the filing of the complaint will be barred from the
                                                           6                                                Class if equitable relief were not granted under the
                                                           7                                                UCL.
                                                           8                                            ii. The scope of actionable misconduct under the unfair
                                                           9                                                prong of the UCL is broader than the other causes of
                                                          10                                                action asserted herein to include, for example, the
                                                          11                                                overall unfair marketing scheme of labeling the
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                                                          12                                                Products as having “No Preservatives.” Thus,
                                                          13                                                Plaintiffs and class members may be entitled to
                                                          14                                                restitution under the UCL, while not entitled to
                                                          15                                                damages under other causes of action asserted herein
                                                          16                                                (e.g., the FAL requires actual or constructive
                                                          17                                                knowledge of the falsity; the CLRA is limited to
                                                          18                                                certain types of plaintiffs (an individual who seeks or
                                                          19                                                acquires, by purchase or lease, any goods or services
                                                          20                                                for personal, family, or household purposes) and
                                                          21                                                other statutorily enumerated conduct).
                                                          22                                            iii. Injunctive relief is appropriate on behalf of Plaintiffs
                                                          23                                                and members of the Class because Defendant
                                                          24                                                continues to deceptively label the Products as having
                                                          25                                                “No Preservatives.” Injunctive relief is necessary to
                                                          26                                                prevent Defendant from continuing to engage in this
                                                          27                                                unfair, fraudulent, and/or unlawful conduct described
                                                          28                                                herein and to prevent future harm—none of which
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                                                           1                                               can be achieved through available legal remedies.
                                                           2                                               Further, injunctive relief, in the form of packaging or
                                                           3                                               label modifications, is necessary to dispel public
                                                           4                                               misperception about the Products that has resulted
                                                           5                                               from years of Defendant’s unlawful marketing
                                                           6                                               efforts. Such modifications could include, but are not
                                                           7                                               limited to, removing the “No Preservatives” claims
                                                           8                                               on the label. Such relief is not available through a
                                                           9                                               legal remedy, as monetary damages may be awarded
                                                          10                                               to remedy past harm (i.e., purchasers who have been
                                                          11                                               misled), while injunctive relief is necessary to
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                                                          12                                               remedy future harm (i.e., prevent future purchasers
                                                          13                                               from being misled), under the current circumstances
                                                          14                                               where the dollar amount of future damages is not
                                                          15                                               reasonably ascertainable at this time. Plaintiffs are,
                                                          16                                               currently, unable to accurately quantify the damages
                                                          17                                               caused by Defendant’s future harm (e.g., the dollar
                                                          18                                               amount that Plaintiffs and Class members will
                                                          19                                               overpay for deceptively labeled Products), rendering
                                                          20                                               injunctive relief a necessary remedy.
                                                          21             118. Specifically,             Plaintiffs   paid   for    products advertised    as “No
                                                          22    Preservatives” when the Products contain the well-known preservative, citric acid.
                                                          23    Plaintiffs and the Class would not have purchased the Products, or would have paid
                                                          24    significantly less for the Products if they had known that Defendant’s “No
                                                          25    Preservatives” labeling and advertising were meaningless. Likewise, Plaintiffs and
                                                          26    the members of the Class seek an order enjoining Defendant from making
                                                          27    representations that the Products are contain “No Preservatives” for the reasons stated
                                                          28    herein. Plaintiffs may want to purchase the Products again if they can be sure that
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                                                           1    Defendant          is    compliant       with   federal   and   state   consumer   protection
                                                           2    laws. Additionally, Plaintiffs and the members of the Class seek and request an order
                                                           3    awarding Plaintiffs and the Class restitution of the money wrongfully acquired by
                                                           4    Defendant by means of Defendant’s misleading “No Preservatives” representations.
                                                           5                                                    COUNT FOUR
                                                           6                                      BREACH OF EXPRESS WARRANTY
                                                           7             119. Plaintiffs repeat and reallege all the allegations of the previous
                                                           8    paragraphs and incorporate the same as if set forth herein at length.
                                                           9             120. Defendant expressly warranted on each and every Product that it contains
                                                          10    “No Preservatives.” Defendant’s claims constitute an affirmation of fact, promise,
                                                          11    and/or description of the goods, the Products, that became part of the basis of the
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                                                          12    bargain and created an express warranty that the Products would conform to the
                                                          13    stated promise. Plaintiffs placed importance on Defendant’s claims.
                                                          14             121. All conditions precedent to Defendant’s liability under this contract have
                                                          15    been performed by Plaintiffs and the Class.
                                                          16             122. Defendant breached the terms of this contract, including the express
                                                          17    warranties, with Plaintiffs and the Class by not providing Products that conform to
                                                          18    the advertisement.
                                                          19             123. Defendant’s express warranty that the Products had “No Preservatives”
                                                          20    was breached because the Products contained citric acid, a well-known preservative.
                                                          21             124. Defendant therefore breached the terms of its express warranty with
                                                          22    Plaintiffs and the Class by not providing Products that conform to the advertising
                                                          23    claim that the Products have “No Preservatives.”
                                                          24             125. As a result of Defendant’s breach of express warranty, Plaintiffs and the
                                                          25    Class have been damaged in the amount to be determined at trial.
                                                          26                                                COUNT FIVE
                                                          27                                            UNJUST ENRICHMENT
                                                          28             126. Plaintiffs repeat and reallege the allegations set forth above, and
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                                                           1    incorporate the same as if set forth herein at length.
                                                           2             127. By means of Defendant’s wrongful conduct alleged herein, Defendant
                                                           3    knowingly sold the Products to Plaintiffs and members of the Class in a manner that
                                                           4    was unfair, unconscionable, and oppressive.
                                                           5             128. Defendant knowingly received and retained wrongful benefits and funds
                                                           6    from Plaintiffs and members of the Class. In so doing, Defendant acted with
                                                           7    conscious disregard for the rights of Plaintiffs and members of the Class.
                                                           8             129. As a result of Defendant’s wrongful conduct as alleged herein, Defendant
                                                           9    has been unjustly enriched at the expense of, and to the detriment of, Plaintiffs and
                                                          10    members of the Class.
                                                          11             130. Defendant’s unjust enrichment is traceable to, and resulted directly and
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                                                          12    proximately from, the conduct alleged herein.
                                                          13             131. Under the common law doctrine of unjust enrichment, it is inequitable
                                                          14    for Defendant to be permitted to retain the benefits it received, without justification,
                                                          15    from selling the Products to Plaintiffs and members of the Class in an unfair,
                                                          16    unconscionable, and oppressive manner. Defendant’s retention of such funds under
                                                          17    such circumstances making it inequitable to do so constitutes unjust enrichment.
                                                          18             132. The financial benefits derived by Defendant rightfully belong to
                                                          19    Plaintiffs and members of the Class. Defendant should be compelled to return in a
                                                          20    common fund for the benefit of Plaintiffs and members of the Class all wrongful or
                                                          21    inequitable proceeds received by Defendant.
                                                          22             133. Plaintiffs and members of the Class have no adequate remedy at law.
                                                          23                                            PRAYER FOR RELIEF
                                                          24             WHEREFORE, Plaintiffs, individually and on behalf of all others similarly
                                                          25    situated, pray for judgment and relief on all Counts as follows:
                                                          26                     A.       An order enjoining Defendant from continuing to label, package,
                                                          27                              and/or advertise the Products as challenged herein so as to dispel
                                                          28                              the consumer deception;
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                                                           1                     B.       Damages against Defendant in an amount to be determined at
                                                           2                              trial, together with pre-and post-judgement interest at the
                                                           3                              maximum rate allowable by law on any amounts awarded;
                                                           4                     C.       Restitution and/or disgorgement in an amount to be determined at
                                                           5                              trial;
                                                           6                     D.       Reasonable attorneys’ fees and costs; and
                                                           7                     E.       Granting such other and further as may be just and proper.
                                                           8                                            JURY TRIAL DEMANDED
                                                           9            Plaintiffs demand a jury trial on all triable issues.
                                                          10

                                                          11    Dated: June 3, 2021                                CLARKSON LAW FIRM, P.C.
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                                                          12
                                                                                                                   /s/ Ryan J. Clarkson
                                                          13                                                       Ryan J. Clarkson, Esq.
                                                                                                                   Bahar Sodaify, Esq.
                                                          14                                                       Christina N. Mirzaie, Esq.
                                                          15                                                       Attorneys for Plaintiffs
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